Case 1:18-cv-02610-TJK Document 28 Filed 11/19/18 Page 1 of 2

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC. and ABILIO
JAMES ACOSTA,

Plaintiffs,
V.

DONALD J. TRUMP, in his official capacity as
President of the United States; JOHN F. KELLY, in
his official capacity as Chief of Staff to the President
of the United States; WILLIAM SHINE, in his
official capacity as Deputy Chief of Staff to the Case No. 1:18-cv-02610
President of the United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press Secretary
to the President of the United States; the UNITED
STATES SECRET SERVICE; RANDOLPH ALLES,
in his official capacity as Director of the United
States Secret Service; and JOHN DOE, Secret
Service Agent, in his official capacity,

Defendants.

 

 

NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

On November 19, 2018, Defendants Sarah Sanders and William Shine informed Plaintiff
Jim Acosta by letter of their “final determination” that his White House “hard pass is restored.”
Counsel for Defendants at the Department of Justice represent that “this final determination
obviates the need for any preliminary injunction litigation, as well as for [the] suit generally.” In
light of the Department of Justice’s representation and the restoration of Mr. Acosta’s hard pass,
and without taking any position on the remaining statements in the November 19, 2018 letter or

the process that led to it, Plaintiffs, by and through their undersigned counsel, hereby give notice
Case 1:18-cv-02610-TJK Document 28 Filed 11/19/18 Page 2 of 2

of the voluntary dismissal of this action without prejudice pursuant to Rule 41(a)(1)(A)(1) of the

Federal Rules of Civil Procedure. Plaintiffs reserve all rights.

Dated: November 19, 2018

Respectfully submitted,

wv

 

Theodore J. Boutrous, Jr., (D.C. Bar No.
420440)

GIBSON, DUNN & CRUTCHER LLP
333 South Grand Ave.,

Los Angeles, California 90071

Tel: (213) 229-7804
tboutrous@gibsondunn.com

Theodore B. Olson (D.C. Bar No. 367456)
Joshua S. Lipshutz (D.C. Bar No. 1033391)
GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036

Tel: (202) 955-8688
tolson@gibsondunn.com
jlipshutz@gibsondunn.com

Anne Champion (pro hac vice forthcoming)
GIBSON, DUNN & CRUTCHER LLP

200 Park Avenue

New York, New York 10166-0193
Tel: (212) 351-5361
achampion@gibsondunn.com

Counsel for Plaintiffs Cable News Network,
Inc., and Abilio James Acosta
